Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 1 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 2 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 3 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 4 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 5 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 6 of 8
Case 1:10-cr-00249-JLT-BAM Document 378 Filed 09/03/15 Page 7 of 8
                                                                              ATTACHMENT A
                                         Case 1:10-cr-00249-JLT-BAMRestitution
                                                                     Document    378 Filed 09/03/15 Page 8 of 8
                                                                               Amount
                                                                           Darling Arlette Montalvo


                                                                          Restitution-       Restitution-
                 Property                      Originating Lender         First Loan        Second Loan        Entity to Receive Resitution          Reference
8111 Fighting Irish Drive, Bakersfield      Long Beach Mortgage Co.         $94,011.88         $70,811.82                  FDIC             Bates 31914, 31928

                                                                                                      Total:           $164,823.70




Restitution for 8111 Fighting Irish Drive is to be joint and several with co-defendants Eric Ray Hernandez and Evelyn Brigget Sanchez.




                                                                                 Page 1 of 1
